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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

 IN RE: JAVIER MORZAN
                                                                     Case Number: 20-18765-LMI
       Debtor.                                                       Chapter 7
 _____________________________________/

                                               NOTICE OF FIING

         Creditor, REEF CLUB CONDOMINIUM ASSOCIATION, INC., by and through the

undersigned counsel, and per the Court’s instructions at the December 28, 2020 hearing, files the

following:

         1. Breakdown of total amount owed to Creditor by Debtor Javier Morzan;

         2. Breakdown of legal fees incurred by Creditor in both the state foreclosure action and the

             bankruptcy proceeding.

                                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished by U.S.
Mail or by CM/ECF to: Debtor, Javier Morzan, javiermorzan@hotmail.com; Trustee, Marcia T.
Dunn, 66 W. Flagler St., Ste. 400, Miami, Florida 33130, Attorney for the Trustee, Michael P. Dunn,
Dunn Law, P.A., 66 W. Flagler St., Suite 400, Miami, Florida 33130,
michael.dunn@dunnlawpa.com; U.S. Trustee, Office of the U.S. Trustee, 51 SW 1st Avenue, Suite
1204, Miami, Florida 33130, on this 5th day of January 2021.

                                                       BECKER & POLIAKOFF, P.A.
                                                       Attorneys for Secured Creditor,
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